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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

GREATER GUIDE INC. D/B/A AMERICAN
SERVICE PETS,
Plaintiff.
                                                   CASE NO: 25-428
v.
                                  SECTION: J (5)
SAPS, LLC, PREVENT ESA FRAUD INC,
PREVENT ESA FRAUD,                JUDGE: CARL J BARBIER
DOMINICKLATINO III, AND,
JOHN DOE UNKNONWN INVESTIGATOR MAGISTRATE: MICHAEL NORTH
Defendants.
                                  JURY TRIAL REQUESTED


     FIRST AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF


        Plaintiff, Greater Guide Inc. ("Greater Guide"), doing business as "American Service Pets",

by and through its attorneys, undersigned counsel, for its Complaint against Defendants SAPS

LLC, Prevent ESA Fraud, Inc., Prevent ESA Fraud, Dominick Latino III, and John Doe Unknown

Investigator, alleges, based on personal knowledge as to its own actions and on information and

belief as to the actions of Defendants,, as follows:


                                PRELIMINARY STATEMENT
1. Plaintiff, Greater Guide, Inc., doing business as "American Service Pets," operates the website

     www.AmericanServicePets.com (referred herein to as the “ASP website”). Through the ASP

     website, Greater Guide offers access to licensed independent mental health professionals for

     those seeking certification for Emotional Service Animals (“ESA”) and Psychiatric Service

     Animals (“PSA”), along with related products for owners of same.

2. Defendant SAPS LLC, doing business as "US Service Animals", operates the website,

     www.usserviceanimals.org (sometimes referred to herein as the “USSA website”) and is a

     direct competitor to Plaintiff, Greater Guide and its business, “American Service Pets”.
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3. Defendants, Prevent ESA Fraud, Inc. (a Delaware nonprofit corporation) and “Prevent ESA

   Fraud” (a Louisiana nonprofit corporation), were both organized and founded by SAPS’

   attorney and Co-Defendant, Dominick Latino III (referred to as “Latino” or “Mr. Latino”).

4. Defendant John Doe, (referred to as “Unknown Investigator”), working for and/or in concert

   with Mr. Latino and Defendants, intentionally participated in Defendants scheme to defraud

   and damage competitors, including Plaintiff, Greater Guide, Inc. and its business, "American

   Service Pets" (“ASP”).

5. This is a complaint for damages and injunctive relief based on allegations that the Defendants

   devised and conducted a malicious and retaliatory campaign against "American Service Pets"

   via deceptive, fraudulent and illegal activities.

6. Through the use of fake identities and/or fabricated patient profiles, the Defendants infiltrated

   the Plaintiff’s secure (256-bit encrypted) protected website (AmericanServicePets.com) over

   31 times, submitted fake/fraudulent requests for medical/psycho evaluations, federally-

   regulated Emotional Support Animal (ESA) and/or Psychiatric Service Animal (PSA)

   certifications, and other ESA/PSA related services.

7. In addition, using their ill-motivated and fraudulently obtained access to the Plaintiff’s website

   and network of licensed providers, the Defendants harvested and exploited the identities,

   contact information and sensitive (patient/provider) communication channels of dozens of

   medical/mental health providers which they then used to file a number of fake/manufactured

   and maliciously motivated regulatory “complaints” with several State (publicly-funded and

   operated) regulatory bodies and agencies. The “complaints” routinely relied upon the

   Defendants’ own self-drafted ‘Code of Conduct’ while failing to disclose the true nature of

   their fake patient identity scheme, their fraudulent online activities or their ulterior motives

   (resulting in the waste and abuse of untold taxpayer resources and significant damage to the

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   reputations and business interests of a number of licensed medical/mental health providers in

   the process).

8. Moreover, the Defendants’ fraudulent activities and fictitious complaints have substantially

   reduced Plaintiff’s capacity to provide services in at least five States across the United States,

   thereby diverting large number of customers from “American Service Pets” (to Defendant,

   SAPS, LLC) and severely damaged the Plaintiff’s economic opportunities and business

   interests.

9. As a result of the Defendants’ concerted and ongoing efforts, SAPS, LLC now threatens to

   illegally monopolize the nationwide market for online ESA-PSA certification services, an

   effect which has caused (and will continue to cause) a negative effect on free competition and

   consumer choice along with irreparable harm to the Plaintiff legitimate and legal business

   interests.

10. Plaintiff asserts claims of civil conspiracy, fraud, breach of contract, Computer Fraud and

   Abuse Act, abuse of right, Louisiana Unfair Trade Practices Act, the Sherman Act, and

   Racketeer Influenced and Corrupt Organization ("RICO") Act based on that conduct.

11. In 2020, Defendant SAPS, represented by Mr. Latino, initiated a lawsuit in Louisiana state

   court against Plaintiff Greater Guide’s predecessor Praxis Marketing, Inc (“Praxis Marketing”)

   with the intent of damaging their competitor, Praxis Marketing. SAPS’s lawsuit sought

   damages from Greater Guide for unfair trade practices in an attempt to impose the industry

   standards that Defendants unilaterally and fictitiously created. The lawsuit was dismissed for

   failing to state a cause of action, indicating the baselessness of the claims.

12. In response to the dismissal of Defendant SAPS' suit in State court, Defendants continued a

   previously formulated and enacted scheme to defraud and injure competitors, including

   Greater Guide. This scheme involved the unilateral creation and imposition of “industry

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   standards”, the fabrication of fraudulent customer profiles on competitors’ websites, wherein

   Unknown Investigator, at the behest of the enterprise formed by Defendants, submitted

   fraudulent medical evaluations through competitors’ platforms to be submitted to licensed

   mental health professionals contracted with competitors. Utilizing the fraudulently obtained

   information, Defendants Prevent ESA Fraud, Inc. and Prevent ESA Fraud, signed by Mr.

   Latino, filed numerous Indiscriminate Complaints with various State regulatory boards against

   the licensed mental health professionals contracted with competitors. These complaints

   reiterated the same fictitious industry standards without regard to individual state law and

   sought to defame SAPS’ competitors by falsely equating their competitors with scam

   operations. In knowingly submitting numerous nearly identical complaints across various state

   regulatory boards without consideration for the applicability of individual state laws,

   Defendants not only disregarded legal standards but also misused legal processes, constituting

   a clear abuse of right intended to maliciously damage competitors’ professional reputation and

   business operations, including Plaintiff’s. This scheme has been carried out against competitors

   other than Greater Guide in substantially the same means and methods, using an employee of

   SAPS to carry out fraudulent activities on behalf of Prevent ESA Fraud, constituting ongoing

   racketeering activities.

13. As a direct and proximate result of Defendants’ actions, several of Greater Guide’s licensed

   independent mental health professionals who received complaints initiated by Defendants have

   since terminated their contracts with Plaintiff, causing Greater Guide substantial monetary loss,

   reputational harm, and loss of business opportunities. This substantial injury to Greater Guide

   was Defendant SAPS' original intention, as expressed in their dismissed 2020 lawsuit. These

   intentionally malicious actions by Defendants in Louisiana, targeted at damaging a lawful

   business through deceit and a coordinated abuse of rights to file administrative complaints,

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   clearly falls outside the purview of legitimate business practices and constitutes racketeering

   activities and an unfair restraint of commerce prohibited by Louisiana and federal law.

14. Plaintiff seeks damages in an amount in excess of seventy-five thousand dollars ($75,000.00),

   permanent injunctive relief from Defendants’ fraud, breach of contract, violations of the

   Computer Fraud and Abuse Act, with their business contracts, unfair trade practices,

   racketeering, anticompetitive business practices, the dissolution of Prevent ESA Fraud and

   Prevent ESA Fraud, Inc, or the revocation of nonprofit status, and treble damages and

   reasonable attorneys' fees pursuant to La. R.S. 51:1409(A), 15 US Code § 15, and 18 US Code

   § 1964.

15. Plaintiff has suffered and will continue to suffer irreparable harm in the absence of injunctive

   relief, as monetary damages alone are inadequate to remedy the ongoing loss of business

   relationships, business opportunities, and distortion of competition in the relevant market.


                                        JURISDICTION
16. This Court has original jurisdiction under 28 U.S.C. § 1331, as Plaintiff pleads under 18 U.S.C.

   § 1030 (Computer Fraud and Abuse Act), under § 18 U.S.C. §1961, et seq. (civil-RICO), and

   under §§ 1 and 2 of the Sherman Act (15 U.S.C. §§ 1–2), with treble-damages and injunctive

   remedies supplied by §§ 4 and 16 of the Clayton Act (15 U.S.C. §§ 15–26). This Court has

   supplemental jurisdiction under 28 U.S.C. §1367 over Plaintiff’s state-law claims which arise

   from the same transactions or occurrences and implicate the same questions of fact and related

   questions of law.

                                             VENUE

17. Venue is proper in the Eastern District of Louisiana under 28 U.S.C. §1391 where the

   Defendants are subject to personal jurisdiction and are doing business, and where the acts

   complained of occurred or originated in such district.
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                                            PARTIES

18. Plaintiff, Greater Guide Inc., doing business as "American Service Pets", is a corporation

   incorporated in the State of Delaware with its principal place of business in Louisiana. Plaintiff

   offers access to licensed independent mental health professionals for those seeking certification

   for emotional service animals and accessory products for owners of emotional service animals.

19. Upon information and belief, Defendant SAPS, LLC (“SAPS”) is a limited liability company

   formed under the laws of the State of Louisiana and does business in Covington, Louisiana

   and provides essentially the same services and products as Plaintiff.

20. Upon information and belief, Defendant Dominick Latino III is an individual domiciled and

   residing in Mandeville, Louisiana, who:

          a. Is a member of the Louisiana State Bar Association and an attorney/member of

              Column Law Firm LLC;

          b. Serves as president or director of Defendants, Prevent ESA Fraud, Inc (the

              Delaware entity) and Prevent ESA Fraud (the Louisiana entity); and

          c. Has held himself out, and did act, as counsel to:

                   i. SAPS, LLC in the Louisiana State Court litigation, SAPS, LLC v. Praxis

                      Marketing Inc., No. 2020-0002008 (21st JDC, Parish of Tangipahoa, State

                      of Louisiana).

                  ii. Various fictitious patients/users/claimants that which entered into contracts

                      for services with Plaintiff’s business, “American Service Pets”.

21. Upon information and belief, Defendant, Prevent ESA Fraud Inc. (“PEFI”) is a nonprofit

   corporation that is incorporated in the State of Delaware and has its principal place of business

   in Rehoboth, Delaware.

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22. Upon information and belief, Defendant, Prevent ESA Fraud (herein referred to as "PEF") is a

   nonprofit corporation that is incorporated in the State of Louisiana and has its principal place

   of business in Mandeville, Louisiana. Defendant names Dominick Latino III as its president

   and director in filings with the Louisiana Secretary of State and Column Law Firm LLC as its

   registered agent. PEF and Column Law Firm LLC also share the same suite address in the

   Mandeville office.

23. Upon information and belief, Defendant John Doe (the Unknown Investigator) is an individual

   employed or contracted by one or more of the Defendants, whose actions occurred within or

   were directed to the jurisdiction of this Court, and intentionally participated in and facilitated

   the execution of the Defendants’ unlawful scheme to defraud, directly contributing to the

   damages suffered by the Plaintiff.

24. Upon information and belief, Defendant John Doe (the Unknown Investigator) is an individual

   employed or contracted by one or more Defendants, whose conduct occurred within or was

   directed toward this Court’s jurisdiction, and who knowingly participated in and facilitated the

   Defendants’ unlawful scheme to defraud, thereby directly contributing to harm and damages

   suffered by the Plaintiff.


                                   STATEMENT OF FACTS

25. Greater Guide Inc. ("Greater Guide") is a corporation incorporated in the State of Delaware in

   2015 and is doing business as "American Service Pets". Greater Guide operates the website

   www.americanservicepets.com (herein referred to as the "ASP website") and its principal place

   of business in Hammond, Louisiana.

26. Through the ASP website, Greater Guide operates a platform that connects individuals seeking

   medical evaluation to validate the need for emotional support animals, which may be referred

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   to as an "ESA", and provides associated documentation; the ASP website also offers associated

   pet care products to their customers. Greater Guide maintains contractual relationships with

   independent mental health providers (“IMHPs”) and serves as an intermediary, linking their

   potential customers with their contracted IMHPs.

27. The relevant market that Greater Guide and SAPS operate in is the online Emotional Support

   Animal (ESA) and Psychiatric Support Animal (PSA) certification service market, including

   the ESA-PSA certification keyword-based online advertising market through which providers

   acquire customers via social media and/or search-engine queries on Google, Bing, and similar

   search engines. Barriers to entry include costly investments in: (i) HIPAA-compliant tele-

   health infrastructure, (ii) a provider network, (iii) SEO acquisition costs, website/online

   technology, security, load-balancing maintenance costs. The geographic market of the ESA-

   PSA certification service market is comprised of a nationwide marketplace as Greater Guide

   and others provide services across the United States (the “Relevant Market”).

28. To obtain evaluation services from Greater Guide’s IMHPs, a potential patient must access the

   ASP website and answer a series of evaluation questions before being able to pre-qualify. Upon

   answering the qualification questions, the ASP website prompts the potential patient to provide

   their full legal name, email address, and zip code, and by pressing the button “Get Your ESA

   Letter” to proceed in the process, the potential patient agrees to the ASP website’s Terms and

   Conditions. After agreeing to the ASP website’s Terms and Conditions, the potential

   patient/consumer must then provide key information about their support animal as well provide

   answers to a series of medical/psycho health evaluation questions.

29. Upon answering all of the evaluation questions, the ASP website prompts the potential

   patient/consumer to enter and confirm their full legal name, billing address, and payment

   information in order to authorize the purchase of ESA/PSA services. Only after the potential

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   patient/consumer has successfully accepted the ASP website Terms and Conditions, verified

   their full legal name, residential address, billing address, successfully answered all evaluation

   questions and obtained a valid payment authorization does the ASP website allow the potential

   patient/consumer to submit their request for an ESA/PSA evaluation and certification through

   Greater Guide’s computer system. Once completed, Greater Guide issues a patient

   identification number that unlocks the secure provider-queue API. Without the patient

   identification number, the patient/consumer cannot receive any services.

30. The ASP website’s Terms and Conditions describe the above services and products sold

   through the website. The Terms and Conditions explain to customers that "[t]his [ASP website]

   does not provide any service by physicians or health services providers. All of the providers

   are independent of the Company".

31. Due to the website's goal of connecting customers with independent mental health

   professionals, the ASP website Terms and Conditions explicitly prohibit users from "(a) using

   the Website for any unlawful purpose; […]" and "(c) submitting false information" among

   other nefarious activities.

32. Further, the Terms and Conditions specify that users who register to use the services on the

   ASP website "agree to provide complete, accurate and truthful information" and are not

   "permitted to register under someone else's name". See the ASP website Terms and Conditions

   attached hereto as “Exhibit 1”.

33. Defendant SAPS was incorporated as a Louisiana limited liability company in July of 2015

   and is doing business as "US Service Animals". SAPS operates the website

   www.usserviceanimals.org (the "USSA website"). Through this website, SAPS solicits those

   searching to obtain certification of an emotional service animal and offers pet owner

   accessories associated with pets as emotional support animals.

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34. Under information and belief, Defendant Prevent ESA Inc. (herein referred to as "Prevent ESA

   Fraud") was registered in Delaware as a Delaware nonprofit corporation under the name

   "Society for Prevention of Diagnostic Abuse" (herein referred to as "SPODA") in February of

   2018. Sometime after 2018, SPODA changed its name to Prevent ESA Fraud. Under

   information    and     belief,   Prevent   ESA      Fraud    Inc.   operates    the    website

   www.preventesafraud.com. The website lists its office address as 19266 Coastal Hwy, Unit 4-

   571, Rehoboth Beach, DE 19971. Under information and belief, neither SPODA nor Prevent

   ESA Fraud was or is registered as a nonprofit with the Internal Revenue Service.

35. Defendant Prevent ESA Fraud is a nonprofit corporation incorporated in the State of Louisiana

   in April of 2023. PEF lists its principal place of business at 5150 Hwy 22, Ste C8, Mandeville,

   LA 70471, with its registered agent as Column Law Firm LLC and its president and director

   is listed as Mr. Latino. PEF, Column Law Firm, LLC, and Mr. Latino is registered with the

   State Secretary of State and Louisiana Bar Association as having their offices at 5150 Hwy 22,

   Ste C8, Mandeville, LA 70471.

36. Both Prevent ESA Fraud, Inc. and “Prevent ESA Fraud” claim to be “nonprofit” entities that

   enforce a set of self-drafted and suspiciously created industry standards under the guise of

   "fraud-prevention". Nevertheless, both publicly list Co-Defendant “US Service Animals”

   [SAPS] as their “industry benefactor”.

37. SAPS, LLC provides ESA credentialing and pet accessories products throughout the United

   States and worldwide. Prevent ESA Fraud, PEF, Mr. Latino, and Unknown Investigator,

   coordinated with SAPS, promote a unilaterally created “industry standard” and files

   complaints to enforce those standards nationwide. SAPS, LLC, Prevent ESA Fraud, PEF, Mr.

   Latino, and Unknown Investigator are engaged in, and their activities substantially affect,

   interstate commerce.

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                    THE RICO ENTERPRISE AND PUBLIC DECEIT

38. SAPS, Prevent ESA Fraud, and Dominick Latino III are intimately connected, with Prevent

   ESA Fraud (supposedly a non-profit) outwardly operating primarily for the benefit of the (for-

   profit) SAPS and for SAPS to artificially aggrandize Prevent ESA Fraud in an attempt to

   deceive the public.

39. The USSA website listed Mr. Latino under the section of the website entitled "Meet Our Legal

   Team," stating that Mr. Latino "[f]ounded a national advocacy group to ensure that disabled

   people obtain quality mental health evaluations".

40. James Benson, a member and manager of SAPS, is also listed as being a member of US Service

   Animal's "Legal Team". The first clue that SAPS’ intention is to deceive the public is that the

   USSA website operates on a “.org” top level domain extension, which is typically reserved for

   to designate qualified nonprofit organizations, despite the fact that both SAPS and the USSA

   website are overtly “for profit” and commercial in nature.

41. The connection between SAPS and Prevent ESA Fraud is evident from the beginning of

   Prevent ESA Fraud’s inception. Within months of incorporating Prevent ESA Fraud (originally

   as SPODA) in Delaware, Mr. Latino, noted as SPODA's spokesperson, made a press release

   on their website and to other media agencies touting SAPS's US Service Animals as "the first

   online company to implement and pass SPODA's strict Code of Ethics and Conduct". To date,

   there is no public record of any other company announcing or mentioning that it has adopted

   or implemented Prevent ESA Fraud’s “Code of Ethics and Conduct”.

42. Further, the USSA website, under the menu button entitled "ESA Compliance" does not

   mention ESA Compliance but launches into Prevent ESA Fraud's "Code of Ethics and

   Conduct".


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43. It is clear from the facts that this "Code of Ethics and Conduct" was unilaterally created by

    Prevent ESA Fraud with the aid of "[m]ental [h]ealth [p]ractitioners and practicing attorneys".

    Those "mental health practitioners and practicing attorneys" are not listed on the website or in

    any other literature that could be found on the internet. Research could not identify any other

    organization approving, confirming the tenants of, listing, or referencing Prevent ESA Fraud's

    "Code of Ethics and Conduct" as valid or being any type of industry standard.

44. According to Prevent ESA Fraud's website, SAPS' US Service Animals is the only entity

    "certified" by Prevent ESA Fraud for abiding by their unilaterally created "Code of Ethics".

    However, Prevent ESA Fraud’s website suspiciously displays a “Membership Map” that shows

    many dots across the United States purporting to represent "members" of Prevent ESA Fraud.1




45. Prevent ESA Fraud has a Facebook page which asserts that it operates as a “Lawyer & Law

    Firm” (emphasis added) and at the time of filing has only 2 likes, 4 followers, and no activity

    since 2020, all of which further places the veracity of Prevent ESA Fraud’s “Membership Map”

    and the true motives of Prevent ESA Fraud, SAPS and Mr. Latino in question.2


1
 See Membership Map, Prevent ESA Fraud, https://preventesafraud.com/membership-map/
(last visited June 17, 2025).
2
 See, Prevent ESA Fraud, Facebook, https://www.facebook.com/preventesafraud (last visited June 17,
2025).
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46. SAPS and Prevent ESA Fraud are also linked since Prevent ESA Fraud lists US Service

      Animals as their "industry benefactor" on their home page, stating that:

           “Prevent ESA Fraud was founded by an industry leading law firm, Column Law Firm,
           LLC, tired of disreputable online companies with fake ESA letters and Mental Health
           Professionals not properly performing diagnoses.

           Industry benefactor - US Service Animals:

           "Our company spends an enormous amount of resources fielding the customer service
           complaints from these ESA letter mills (websites) who are nowhere to be found after
           you give them your money. We want to educate people about proper ESA consultations
           and stop people from being scammed." - Matt Handal, founder of US Service
           Animals” 3




47. The link between SAPS's "US Service Animals" and Prevent ESA Fraud has not gone

      unnoticed by some in the emotional support animal space. One independent blogger who

      reviews websites for emotional support animal certifications wrote an article entitled "US


3
    See Prevent ESA Fraud, https://preventesafraud.com/ (last visited June 17, 2025).
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    Service Animals SCAM ALERT" wherein the author connects SAPS and Prevent ESA Fraud

    and offers nefarious conclusions to those connections. 4




48. In furtherance of attacking their competitors, SAPS LLC, represented by Mr. Latino and the

    Column Law Firm LLC, initiated legal proceedings against Praxis Marketing, Inc. (hereinafter

    referred to as "Praxis Marketing") (predecessor to Greater Guide Inc. d/b/a "American Service

    Pets"), filing a Petition for Damages for Unfair Trade Practices in August of 2020, SAPS LLC

    v. Praxis Marketing, Inc., Case No. 2020-0002008 (21st JDC, Tangipahoa, La August 5, 2020)

    (the “Petition”).

        See the Petition attached here as “Exhibit 2”.

49. SAPS' petition alleged that Praxis Marketing engaged in unfair business practices by not

    adhering to the unilaterally and fictitiously created industry standards "Code of Ethics" that

    Prevent ESA Fraud expounded. Further, SAPS alleged in the Petition ¶¶ 4–6 that: (i) it



4
 See U.S. Service Animals Review – Scam?, ESA Reviews (Apr. 30, 2021),
https://esareviews.wordpress.com/2021/04/30/us-service-animals-review-scam/ (last visited June 17,
2025).
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   competes for “prime advertising positions” on Google and Bing by bidding on ESA-PSA

   related keywords; (ii) the highest bidders secure more clicks and thus more potential

   customers; (iii) firms with “lower overhead” can out-bid SAPS and “remain profitable”; and

   (iv) SAPS’s own overhead is “significant” because it claims to follow “all appropriate

   standards and regulations” and employs “agents” to walk customers through the process. The

   lawsuit was dismissed for failing to state a cause of action, indicating the baselessness of the

   claims.



                                 THE SCHEME TO DEFRAUD

50. Agreement-in-fact. Plaintiff is informed and believes, and on that basis alleges, that SAPS LLC,

   Prevent ESA Fraud, Inc., Prevent ESA Fraud (La.), Dominick Latino III, and John Doe

   Unknown Investigator (the “SAPS-PEF Enterprise”) intentionally agreed—no later than 21

   January 2020 (for SAPS, Prevent ESA Fraud, Mr. Latino, and John Doe Unknown

   Investigator)—to implement a fictitious identity complaint scheme designed damage to

   exclude rivals from the Relevant Market. The agreement is evidenced by the following plus

   factors:

              a. Common control. Latino simultaneously managed Column Law (SAPS’s outside

                 counsel) and served as president or director of both Prevent ESA Fraud entities

                 while acting for SAPS, and Cody Oelker worked as independent contractor to SAPS

                 and as an “investigator” to Prevent ESA Fraud;

              b. Shared implementation tools. Every fake-profile purchase made through the ASP

                 website used a combination of the same credit cards and IP blocks registered to

                 Slidell/Mandeville (Ex. A-1), proving centralized operational coordination;



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          c. Uniform complaint template. Each board filing cited Defendants’ privately drafted

              “Code of Conduct & Ethics,” cited no state statute, and bore Latino’s signature or

              Prevent ESA Fraud letterhead, demonstrating a common script rather than

              independent grievance filing;

          d. Sequential market targeting. Defendants deployed the scheme in Texas, Arizona,

              Washington, Louisiana, Florida, and California —which are large revenue pools

              for online ESA-PSA certification services—before moving to smaller states,

              reflecting a coordinated allocation of territories;

          e. Cease-and-desist notice ignored. As discussed below, Greater Guide delivered a

              Cease-and-Desist letter to SAPS in November of 2023, expressly warning that their

              conduct was unlawful. Defendants nevertheless executed twenty-five additional

              incursions into Greater Guide’s platform. Continued conduct after notice is classic

              evidence of conspiratorial willfulness;

51. Defendants’ first known fake-profile complaint was lodged on January 21, 2020—seven

   months before SAPS filed the Petition against Praxis Marketing, Inc, showing SAPS was aware

   it was losing online traffic to lower-cost rivals such as Greater Guide and its predecessor,

   providing a clear anticompetitive motive for the fictitious identity complaint campaign. When

   SAPS later lost its lawsuit to Praxis Marketing in January of 2021, Defendants faced a choice:

   pursue open, good-faith complaints or lobbying of state regulators, or double-down on

   deception. SAPS-PEF Enterprise chose the latter—intensifying their covert program of

   inventing “patients,” harvesting competitors’ provider data, and filing boiler-plate Code-of-

   Conduct complaints. Because no bona-fide grievances existed, the fabricated complaints

   would harm rivals even if every board ultimately dismissed them, thereby serving Defendants’

   anti-competitive objective while masking it as consumer protection.

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52. Dual-track scheme. In an effort to interrupt competitors' business operations and to cause harm,

   Defendants created a scheme to defraud competitors which included two phases: (1) platform

   infiltration and fraudulent transactions; and (2) filing of indiscriminate, baseless complaints.

   First, Defendants created and promoted their unilaterally created and self-serving “industry

   standards”, to wit an "investigator" creating fake, fraudulent customer accounts on their

   competitors' websites would submit false medical evaluation requests to their competitors'

   mental health professionals posing as a patient in search of ESA/PSA credentialing. To

   implement each fake-profile transaction, Defendants first generate a fictitious identity,

   including a newly created email account, and then search home listing sites for residences in

   the target state that are currently for sale. Defendants then use this fraudulent information to

   infiltrate competitor websites. Defendants insert this real street address into the ASP website

   intake form concealing the deception from ASP website’s routine address-validation check.

   By creating a profile using a fraudulent identity, fraudulent address, and credit card

   information, Defendants bypass regular authentication systems of their victims.

53. The results of the fraudulent submissions provide the enterprise with a patient identification

   number and, upon services being rendered, the name of the competitor’s licensed mental health

   professional and allow Defendants to manipulate the system to create an environment to

   facilitate a complaint against competitors’ mental health provider. These infiltration actions

   were intended to and did undermine Plaintiff’s credibility, misappropriate internal business

   structures, and cause direct financial and reputational injury to Plaintiff’s business, regardless

   of whether such acts later culminated in state regulatory complaints.

54. Second, using information obtained through these fraudulent submissions, the SAPS-PEF

   Enterprise filed complaints with State licensing boards against those mental health

   professionals accessed through their competitors' websites (referred cumulatively as "the

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   Complaint Letters"). The Complaint Letters list the name of the fraudulently created account

   and customer, an "alias", and then, predictably, without reference to local law or regulation,

   expounds on the unilaterally created industry standards advertised on Prevent ESA Fraud's

   website and why the mental health provider should be disciplined. Mr. Latino, who served as

   SAPS LLC's counsel in the 2020-2021 litigation against Praxis Marketing, directs Prevent ESA

   Fraud's campaign against SAPS competitors, as evidenced by his signature on multiple

   complaint letters submitted by Defendants Prevent ESA Fraud and PEF against Greater Guide's

   contracted independent healthcare providers. In several of the complaint letters, Mr. Latino

   admits that Prevent ESA Fraud and PEF created fake profiles on the ASP website in order to

   illicit responses that Defendants could then use in filing the Complaint Letters with the intent

   of harming Plaintiff. Both Prevent ESA Fraud and PEF have filed complaints with multiple

   State regulatory boards against Greater Guide mental health providers in furtherance of

   Defendants' scheme.

55. “Indiscriminate Complaints.” As used herein, the term “indiscriminate complaints” means

   complaints that rely solely on Defendants’ privately drafted “Code of Conduct & Ethics” and

   may only reference state law or laws of other states.

                       EXECUTING THE SCHEME TO DEFRAUD

56. Beginning in January of 2020, the SAPS-PEF enterprise agreed to eliminate Greater Guide and

   other competitors from the online ESA-PSA certification market. To that end:

          a. Latino simultaneously controlled Prevent ESA Fraud and worked as outside

              counsel to SAPS, LLC at least as early as August 2020;

          b. Cody Oelker worked simultaneously as an independent contractor to SAPS and as

              an “investigator” to Prevent ESA Fraud;



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          c. the SAPS-PEF Enterprise executed thirty-one (31) fake-profile incursions into the

              ASP website using a handful of the same credit cards and IP blocks from Slidell,

              Louisiana and Mandeville, Louisiana; and

          d. The initial targets were the large revenue states (Texas, Arizona, Washington,

              Louisiana, California, and Florida).

57. The first known instance of Defendants acting on their scheme to defraud competitors known

   to Plaintiff occurred on January 21, 2020, when Cody Oelker, a former employee of SAPS and

   independent contractor to SAPS at the time of the incident, later purporting to be an

   "investigator" for Prevent ESA Fraud, accessed the Animal Access website and fraudulently

   submitted an evaluation request as "Roberta Nicole" of Amherst, New Hampshire. Animal

   Access' mental health provider relied on fraudulent information in providing services to

   "Roberta Nicole". Mr. Oelker would later tell the New Hampshire Board of Mental Health

   Practice that he was an unpaid “investigator” for Prevent ESA Fraud. On February 10, 2020,

   the New Hampshire Board of Mental Health Practice received a complaint letter from Mr.

   Dominick Latino as director of Prevent ESA Fraud, stating that Prevent ESA Fraud was filing

   a complaint against Animal Access's mental health provider. The New Hampshire Board of

   Mental Health Providers formally reprimanded the mental health provider who unwittingly

   received the fraudulent “Roberta Nicole” evaluation from Cody Oelker's, SAPS’s independent

   contractor. See “Complaint” in SAPS, LLC v. Cody Oelker, Case 2:23-cv-00299-SM-JVM

   (E.D.La January 23, 2023) attached hereto as “Exhibit 3” wherein SAPS, LLC states to this

   court that Cody Oelker was a previous employee and independent contract at the relevant

   times referenced in the instant matter.




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58. Greater Guide alone has been able to link approximately thirty-one fraudulent accounts to

    Defendants scheme between January 2023 and December 2024. In each of the approximately

    thirty-one instances, Defendants’:

            a. Created fraudulent customer profiles using fictitious names and addresses;

            b. falsely agreed to the ASP website’s Terms and Conditions;

            c. Entered falsified billing information to simulate legitimate transactions;

            d. sent unauthorized commands to Plaintiffs’ computers and concealing the

                commands as legitimate network traffic; and

            e. Submitted fraudulent medical evaluations through Plaintiffs’ system to induce

                mental health providers into providing services under false pretenses.

59. Cross-referencing the information gathered from the complaints filed by Defendants, Greater

    Guide found that Defendants use the same credit card information to submit false evaluation

    requests through Greater Guide's platform. Similar internet protocol addresses (herein "IP

    address(es)") are used to submit these fraudulent profiles and are traced to Mandeville,

    Louisiana and Slidell, Louisiana, despite claiming to be customers from various locations

    across the United States. Further, the addresses of the fraudulent alias profiles are often

    residential addresses that are or were recently on the market for sale. Attached as “Exhibit 4”

    is a detailed listing of the specific time, place, contents, and alleged identity of persons to

    whom and by whom the alleged fraudulent submissions were made through Greater Guide's

    website to mental health providers by the Defendants.5

60. Phase One of the SAPS-PEF Enterprise’s scheme involved the use of wire fraud and

    unauthorized access to fraudulently obtain valuable operational information—such as patient



5
  Full names have been redacted in an abundance of caution in conformity with HIPAA and confidentiality
laws (in case ANY of the 31 potential consumer/patients turn out to be real.
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   ID numbers, IMHP names and licenses—through Greater Guide’s computer systems under

   false pretenses and fraudulent transactions.

61. This conduct, repeated at least thirty-one (31) times, caused actionable harm to Plaintiff in the

   form of misallocated resources, internal investigation costs, fraudulent transactions, expenses

   incurred to resecure the system, lost sales, and reputational damage within Plaintiff’s IMHP

   network.

62. These acts, both individually and collectively, proximately caused injury to Plaintiff’s business

   and constitute a pattern of racketeering activity, which is independently actionable.

63. Since cross-referencing Defendants’ IP addresses and credit card information, Greater Guide

   has implemented affirmative measures to block Defendants’ suspected attacks—an ongoing

   task that demands considerable vigilance and costs.

64. In furtherance of the fraudulent scheme, SAPS-PEF Enterprise submitted regulatory

   complaints against Greater Guide affiliated IMHPs using form letters signed by Defendant,

   Dominick Latino III, on behalf of Prevent ESA Fraud Inc. (and/or its Louisiana counterpart

   PEF), which were based entirely on fake or fraudulent consumer/patient interactions with

   ASP’s systems and providers.

65. Each letter claimed to report ethical violations under Prevent ESA Fraud’s self-authored “Code

   of Conduct,” and notably NOT under the relevant state’s actual laws or professional

   regulations and the letters uniformly omitted the fact that the supposed complainant was either

   a fake person contrived by or in some way associated with a (for-profit) marketplace

   competitor, namely SAPS, LLC (and its intertwined affiliates).

66. To the best of Plaintiff’s knowledge and belief, the complaints were transmitted via regular

   U.S. mail and were part of a calculated pattern to deceive regulatory boards into opening

   investigations under false pretenses, thereby causing reputational and business injury to

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   Greater Guide, its provider network, and other competitors in the Relevant Market. Attached

   as “Exhibit 5” is a detailed listing of complaints and details (by alias, date, target provider, and

   jurisdiction) which have become available and/or known to the Plaintiff as of the time of this

   filing.

67. On or about April 24, 2023, Greater Guide was informed that their IMHP in Louisiana had a

   regulatory board complaint filed against her by Mr. Latino relying on information gathered by

   an unknown “investigator” who had created a fake account on the ASP website to create the

   environment of the complaint. This mental health provider terminated their contract with

   Greater Guide due to complaints from Defendants.

68. On or about August 30, 2023, the Washington State Examining Board of Psychology informed

   Greater Guide's Washington State mental health provider that Prevent ESA Fraud had filed a

   complaint against Plaintiff’s IMHP, Dr. John Neer, after Prevent ESA Fraud’s "investigator"

   submitted fake information under the name "Chloe Andrews". Dr. Neer attempted to phone

   “Chloe Andrews”; the call was unanswered, and he was unable to reach the fictitious patient.

   This mental health provider terminated their Washington State contract with Greater Guide

   due to the complaint made by Defendants. Following Prevent ESA Fraud’s complaint; the

   Washington Board accepted a Stipulated Consent Order.

69. Upon information and belief, on or about October 24, 2023, the New York State Education

   Department (“NYSED”) contacted Greater Guide's IMHP in New York, Dr. Diana Bruno,

   informing the mental health provider that a complaint had been made by an out of state

   investigator of ESA-PSA certification letters. Under information and belief, Plaintiff contends

   that that this “complaint” was originated by Latino and SAPS-PEF Enterprise. After the initial

   investigation, no action was taken by NYSED.



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70. Then, on or about May 27, 2025, Dr. Burno contacted Greater Guide concerning another

   complaint that had been filed against her by the same out of state entity believed to be Mr.

   Latino and SAPS-PEF Enterprise. Thereafter, the NYSED conducted another investigation

   into Dr. Bruno’s practice. The NYSED dismissed all substantive ESA allegations but issued a

   reprimand concerning inadequate tele-health consent language. Dr. Bruno subsequently

   terminated her contract with Greater Guide due to the nuisance and aggravation brought on by

   the manufactured complaints.

71. Cease-and-Desist Letter. On November 14, 2023 Greater Guide, through counsel, served SAPS

   LLC and its manager James Benson with a written cease-and-desist letter that (i) identified the

   fake-profile/doctor-harassment scheme, (ii) labeled the conduct “unlawful unfair trade

   practices,” and (iii) demanded that SAPS “cease and desist from this unlawful conduct” or face

   suit.

72. Despite this explicit notice, Defendants still initiated multiple ill-motivated and fraudulent

   incursions of the ASP website between November 2023 and December 2024.

73. On or about November 15, 2023, the Texas Behavioral Health Executive Council (“BHEC”)

   contacted Greater Guide's IMHP in Texas, Dr. Juliana Duncan, informing the mental health

   provider that a Dominick Latino III of Prevent ESA Fraud had filed a complaint as an

   "Attorney representing client" "Aja Sims". The complaint letter for "Aja Sims" states that an

   "investigator" had created and submitted fake information using the alias “Aja Sims” to obtain

   the information required to file the complaint. This mental health provider was forced to

   terminate her contract with Greater Guide.

74. On or about August 7, 2024, the Arizona Board of Psychologist Examiners informed Arizona

   mental health provider Dr. Golnaz Hansen that Dominick Latino of Prevent ESA Fraud had

   filed a complaint with the Arizona Board of Psychologist Examiners after a Prevent ESA Fraud

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   "investigator" submitted fraudulent information through the ASP website to create the pretext

   for the complaint against Dr. Hansen. Dr. Hansen subsequently terminated her contract with

   Greater Guide citing Prevent ESA Fraud’s complaint.

75. In several instances as noted above, attorney Dominick Latino III declares to State regulatory

   agencies that he, Mr. Latino, is the legal representative of these nonexistent, fictitious

   individuals to further the scheme against Greater Guide.

76. On or about September 19, 2024, the Arizona Board of Psychologist Examiners informed the

   mental health provider Bethany Young that Dominick Latino of Prevent ESA Fraud had filed

   a complaint with the Arizona Board of Psychologist Examiners after a Prevent ESA Fraud

   "investigator" submitted fraudulent information to through the ASP website to create the

   pretext for the complaint. Dr. Young subsequently terminated her contract with Greater Guide

   due to Prevent ESA Fraud’s complaint.

77. On December 19, 2024, yet another Cease-and-Desist letter was sent to the Defendants as a

   result of the Defendants brazenly continuing their illegal activities and the continuation of the

   SAPS-PEF Enterprise scheme.

78. On or about January 13, 2025, the California Department of Consumer Affairs (CADCA)

   served Greater Guide’s office with a subpoena requesting information related to a purported

   patient identified as “Kimberly B”. The investigation was initiated by the California Board of

   Psychology following a complaint allegedly filed with the Board on or about May 7, 2024, and

   transferred to the CADCA for investigation. Subsequently, Greater Guide received an

   “Authorization for Release of Information” on CADCA letterhead, which purported to

   authorize the disclosure of sensitive medical records concerning “Kimberly B.”




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79. The form listed a handwritten patient ID of 1751959, and identified the legal representative

   as “Dominick Latino”, handwritten, signed in that same name and dated “01/28/2025”,

   purportedly acting as the “Attorney” of “Kimberly B”.

80. Through its ongoing investigation, Greater Guide has determined that “Kimberly B” was in

   fact not a real person, but rather a totally fictitious identity created by Defendants and used in

   a staged transaction as part of their broader deceptive and fraudulent scheme described herein.

   See the above referenced “Authorization of Release of Information”, attached as “Exhibit 6”.

81. On or about February 10, 2025, CADCA served Greater Guide with another subpoena

   requesting information related to a purported consumer/patient identified as “Kay H.” The

   investigation was initiated by the California Board of Psychology following a “complaint”

   allegedly filed with the Board on or about September 18, 2024, and transferred to the CADCA

   for investigation. Subsequently, Greater Guide received an “Authorization for Release of

   Information” on CADCA letterhead, which purported to authorize the disclosure of sensitive

   medical records concerning “Kay H.”

82. The form listed a handwritten patient ID of 1908465, and (yet again) identified the legal

   representative as “Dominick Latino”, handwritten, signed in that same name and dated

   “02/07/2025”, purportedly acting as the “Attorney” of “Kay H.”.

83. Through its ongoing investigation, Greater Guide determined that “Kay H.” was in fact not a

   real person, but rather a totally fictitious identity created by Defendants and used in a staged

   transaction as part of their broader deceptive and fraudulent scheme described herein. See the

   above referenced “Authorization of Release of Information”, attached as “Exhibit 7”.

84. On or about March 3, 2025, the Division of Professional Licensing for the State of Utah

   (“DPL”) served Greater Guide’s office with a subpoena requesting information related to an

   investigation into the IMHP Michael Salvatore IV (“Salvatore”) instigated from a complaint

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   by Prevent ESA Fraud. The DPL subpoenaed all documents kept by Greater Guide concerning

   Salvatore, incurring substantial costs to Plaintiff in order to comply with the investigation.

   There has been no known conclusion to the investigation at this time.

85. Consistently, the state licensing boards to which Defendants mail their “complaints”—e.g., the

   Arizona Board of Psychologist Examiners, the Texas Behavioral Health Executive Council,

   etc.—initially review the fake “complaints” on an ex parte paper basis completely out of

   Plaintiff’s view. Greater Guide has no ability or access to see or rebut the allegations, but in

   many instances receives requests for documents in these matters, creating an administrative

   burden on Greater Guide’s staff, operations and thus causing additional damages.

86. Moreover, these state licensing boards have no power beyond the professionals they regulate,

   which allows third parties to act with impunity in submitting unverified and/or unfounded

   complaints, seemingly predicated on fraudulent transactions, fake identities and/or false

   statements with no recourse.

87. By the Defendants knowingly submitting “patient” complaints utilizing sensitive

   information/files obtained through fraudulent transactions and a boilerplate self-authored

   “Code of Conduct” crates an untenable and unfair process of allegations before closed-off

   forums meaning Greater Guide is detrimentally denied any meaningful due process or access

   to these adjudicatory proceedings.

88. The Defendants’ fabricated complaints to State agencies, including the misrepresentation of

   representing fictitious persons, harms the governmental agency by diverting its limited

   resources away from legitimate regulatory oversight and enforcement, thereby undermining

   the agency's ability to effectively protect public interests and maintain the integrity of its

   investigative processes.



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89. These illegal Indiscriminate Complaints (which are not grounded in any State/Local laws or

   regulations, but instead merely upon the Defendants’ own self-serving and unilaterally

   authored “Code of Conduct”) have caused a number of the Plaintiff’s contracted several mental

   health professionals to terminate their contracts with Greater Guide, causing significant injury

   and interruption to Greater Guide's business operations.

90. Moreover, the resignations of Greater Guide's independent mental health providers in the large

   States where Defendants have chosen to target their fake complaints have caused Greater

   Guide to cease or drastically reduce operations in those States, causing Plaintiff to incur

   ongoing consequential damages, lost revenue and unplanned expenses to attract and train new

   IMHPs on Greater Guide software, resources, and the like for those jurisdictions.

91. Starting on or about March 1, 2023, Greater Guide began to incur business costs from being

   forced to respond to the SAPS-PEF Enterprise’s intrusions into the ASP website, including but

   not limited to costs associated with identifying and responding to fraudulent activity,

   enhancing domain and website security measures, staffing costs, and addressing harm to

   business operations.

92. The coordinated actions between SAPS LLC, Prevent ESA Fraud, PEF, Dominick Latino III,

   and Unknown Investigator(s) demonstrate an ongoing, deliberate scheme to interfere with

   competitors' business relationships and operations, utilizing Prevent ESA Fraud's purported

   nonprofit status as a front to advance SAPS LLC's commercial interests. These actions have

   caused substantial harm to Greater Guide's business operations through required mediation

   actions and the systematic targeting and disruption of its relationships with contracted mental

   health professionals.

                                 HARM TO COMPETITION



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93. As a direct consequence of the Defendants’ fraudulent and anticompetitive activities, including

   the creation of fictitious industry standards, fraud, and the abuse of regulatory processes,

   competition within the emotional support animal certification market has been distorted.

   Defendants SAPS LLC, along with Prevent ESA Fraud Inc. and PEF, manipulated market

   conditions by undermining legitimate service providers through regulatory complaints based

   on fraudulently obtained information and forced integration of their self-serving standards.

   This scheme allowed SAPS LLC to illegitimately seize market share and exert control over

   pricing and service terms detrimental to consumer choice and market fairness.

94. The orchestration of Indiscriminate Complaints against competitors affiliated mental health

   providers has discouraged these providers from participating in the market, thereby reducing

   the number of available providers, raising the barriers to entry, and enabling Defendants to

   control pricing and service terms to the detriment of consumers and competitors. Defendants'

   actions reduced the incentives for service innovation and quality improvements, as competitors

   are forced to divert resources to defend against fraudulently based computer attacks and

   regulatory challenges instead of enhancing service integration and customer experience.

95. Specifically, Defendants’ fake complaint campaign has caused Greater Guide’s IMHP

   network in the States of Texas, Arizona, Washington, Louisiana, and California to

   collapse in capacity, effectively to zero in some states, foreclosing consumer choice and

   diverting ESA-PSA certification sales to Defendant, SAPS, LLC.

96. With fewer competitive options, thousands of actual consumers/patients in each of these States

   now have fewer choices and most likely face SAPS’s higher advertised fees compared with

   that of Greater Guide’s, amounting to illegal harm and suppression of competition, not just to

   Greater Guide, but the the ESA-PSA certification market generally.



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97. Further, SAPS’s website now appears in the top three organic Google results for nearly all

    relevant ESA-PSA search terms nationwide, an obvious indication of their ill-gotten increase

    in web search dominance and online traffic-share metrics.

98. Considering all of the foregoing, the overarching purpose and effect of Defendants' conduct

    has been to unfairly eliminate competition by maliciously forcing out (or severally injuring)

    other market players, reallocate significant market share to themselves, benefit from higher

    prices, and ultimately gain significant unfair economic advantages.


                               COUNT I – CIVIL CONSPIRACY
99. Plaintiff repeats and realleges the foregoing as if fully set forth herein.

100.    Under the La. C.C. Art. 2324, he who conspires with another person to commit an

    intentional or willful act is answerable, in solido, with that person, for the damage caused by

    such act.

101.    The Defendants, SAPS, Prevent ESA Fraud Inc, PEF, Dominick Latino III, John Doe, and

    other unnamed co-conspirators entered into a calculated scheme, a meeting of the minds, to

    deliberately harm Plaintiff by fabricating false customer profiles, submitting false medical

    records, and presenting fraudulently obtained information to regulatory authorities with the

    intent to specifically harm Plaintiff's business operations through deception and manipulation

    of legal procedures, connected to the underlying torts of fraud (La. Civ. Code art. 1953), unfair

    trade practices (La. R.S. 51:1405), and abuse of rights

102.    The regulatory complaints filed by Defendants were objectively baseless, made in bad faith,

    and relied on fabricated evidence and false identities, as detailed above. The Defendants acted

    with the specific intent to defraud Plaintiff through false representations and interfering with

    their business relationships and business operations.

103.    In furtherance of the conspiracy, Defendants committed overt acts, including but not
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   limited to submitting fraudulent information through Greater Guide's ASP website, and filing

   objectively baseless and malicious complaints with numerous State mental health regulatory

   boards to injure Plaintiff and the valuable business relationships with its health providers.

104.   As a direct and proximate result of the Defendants' conspiracy and overt acts, Plaintiff has

   suffered damages, including but not limited to lost revenues, terminated contractual

   relationships with service providers, and costs associated with attracting and training new

   mental health providers.

105.   As a result of the above actions, Defendants are jointly and severally liable for the damages

   caused by the conspiracy and the overt acts committed in furtherance thereof.

106.   By reason of the foregoing, Plaintiff seeks relief for compensatory damages, costs,

   permanent injunction and such other relief as this Court deems just and proper.


                                      COUNT II – FRAUD
107.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

108.   Under La. C.C. art. 1953, fraud is a misrepresentation or suppression of the truth made

   with the intent either to obtain an unjust advantage for one party or to cause a loss or

   inconvenience to the other.

109.   Defendant Unknown Investigator, at the direction and control of Defendants, knowingly

   and intentionally made material misrepresentations by creating fraudulent customer accounts,

   using false names, addresses, and payment information, and submitting false medical

   assessments to mental health providers through Greater Guide's ASP website in violation of

   18 U.S. Code § 1035 (Federal criminal statute criminalizing “False Statements Relating to

   Healthcare Matters”).

110.   These misrepresentations were made with the intent to induce Plaintiff and its IMHPs to

   provide services under false pretenses, to obtain confidential business and healthcare provider
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   information not otherwise available to Defendants, and to create a pretext for filing objectively

   baseless regulatory complaints.

111.   The actions of Defendant, Unknown Investigator John Doe, at the direction and control of

   the other Defendants, were undertaken with the intent to deceive Plaintiff and to obtain an

   unjust advantage, specifically obtaining the name and information of Plaintiff's mental health

   providers, to undermine Plaintiff's credibility with its contracted mental health providers, and

   to enact the scheme of injury on Greater Guide’s business relationships and operations to

   achieve competitive advantage for the Defendants in the marketplace.

112.   Defendants engineered their deception to bypass Greater Guide’s reasonable levels of

   diligence, security and verification, (by, inter alia, using residential properties that had been

   recently placed on the market for sale) to obfuscate the Plaintiff’s otherwise effective due

   diligence/verification measures and present seemingly valid credit card processing information.

   Thus, the truth about the Defendants’ fake scheme was not discoverable “without difficulty,

   inconvenience, or special skill” (See, La. Civ. Code art. 1954)

113.   Plaintiff reasonably relied on Defendant's misrepresentations, as the fraudulent accounts

   and requests appeared to be legitimate customers seeking services. The filing of board

   complaints was the intended consequence of fictitious identity scheme, not an independent act.

   As a result, Plaintiff suffered damages, including but not limited to remedial actions, severe

   reputational harm, loss of business relationships causing financial loss, and injury to business

   operations.

114.   Defendants are vicariously liable for the acts of their Unknown Investigator(s) pursuant to

   Louisiana Civil Code Article 2320, as Unknown Investigator acted at the direction and control

   of Defendants and in the course and scope of their business engagement with Defendants.

115.   By reason of the foregoing, Plaintiff seeks relief for compensatory damages, costs, and

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   such other relief as this Court deems just and proper.


                           COUNT III - BREACH OF CONTRACT
116.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

117.   Pursuant to Louisiana Civil Code Article 1927, Defendant John Doe Unknown Investigator,

   by actively engaging with the ASP website features and continuing to utilize its services after

   having reasonable access and clear visibility to the Terms and Conditions, and did provide

   consent to be bound by such terms upon purchase by proceeding with the transaction, as John

   Doe Unknown Investigator knew or should have known of the Terms and Conditions of

   continued access of the ASP website.

118.   The section entitled “Registration and Password” of the Terms and Conditions is a material

   covenant of the Terms and Conditions and use of the Greater Guide services. Defendants

   breached this section of the Terms and Conditions by supplying aliases, false demographic

   data, and false answers to medical evaluations forms in at least thirty-one transactions.

119.   Defendant Unknown Investigator's acceptance was legally binding and sufficient to

   establish a contract under Louisiana law, wherein the provisions were not hidden but were

   instead made sufficiently conspicuous to alert a reasonable user. Therefore, any breach of these

   agreed terms by the investigator constitutes a breach of contract, actionable under the laws of

   this state.

120.    John Doe Unknown Investigator(s) acted as Defendants’ mandatary when registering each

   account and assenting to the ASP website Terms & Conditions; accordingly, under La C.C. art.

   2985 and La C.C. art. 3021, Defendants are bound by—and liable for—the contractual

   breaches committed within that mandate and under their direction and control.

121.   Plaintiff reasonably relied on Defendant's acceptance of the ASP website Terms and

   Conditions in providing services, and, because of Defendants' breach, suffered damages,
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   including but not limited to severe reputational harm, loss of business relationships causing

   financial loss, and injury to business operations.

122.   By reason of the foregoing, Plaintiff seeks relief for compensatory damages, costs, and

   such other relief as this Court deems just and proper.

         COUNT IV – COMPUTER FRAUD AND ABUSE ACT, 18 U.S.C. § 1030

123.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

124.   At various times between approximately January of 2023 and September 30, 2024,

   Defendants accessed, used, or caused to be accessed or used Plaintiffs’ Servers without

   authorization to obtain medical services and confidential business information under false

   pretenses on approximately thirty-one separate instances.

125.   Plaintiff’s Servers are deemed “computers” as defined by 18 U.S.C. §1030(e)(1) are

   “protected computers” as defined by 18 U.S.C. §1030(e)(2)(B) because they are “used in or

   affecting interstate or foreign commerce or communication.”

126.   Defendants violated 18 U.S.C. §1030(a)(2) because they intentionally accessed and caused

   to be accessed Plaintiffs’ protected computers, without authorization and, on information and

   belief, obtained information that Defendants were not entitled to obtain.

127.   Customers cannot reach the tele-health API endpoint/provider/queue unless they (1)

   complete an evaluation, (2) input valid credit card data, (3) agree to Terms and Conditions by

   submitting their profile and evaluation, and (4) receive an order-ID token. These steps are both

   contractual and technological barriers, which the Defendants fraudulently bypassed.

128.   Defendants’ access was not authorized because it was obtained through the use of false

   identities, fraudulent addresses and zip codes, and circumvention of technical and contractual

   barriers designed to prevent such access. Defendants violated 18 U.S.C. §1030(a)(4) as they

   knowingly and with intent to defraud accessed and caused to be accessed Plaintiffs’ protected

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   computers and without authorization, and by means of such conduct furthered the intended

   fraud and obtained something of value. Defendants’ fraudulent conduct included:

           a. Creating fraudulent customer profiles using fictitious names, birthdates, and

               addresses;

           b. Falsely agreeing to the American Service Pets terms and conditions;

           c. Entering falsified billing information to simulate legitimate transactions;

           d. Sending unauthorized commands to Plaintiffs’ computers and concealing the

               commands as legitimate network traffic; and

           e. Submitting fraudulent medical evaluations through Plaintiffs’ system to induce

               mental health providers into providing services under false pretenses.

   As a result of the Defendants’ fraud, Defendants obtained patient ID numbers as confirmation

   that services would be rendered, thereby furthering their fraudulent scheme to disrupt Plaintiffs’

   business, the value of such disruption exceeding $5,000.

129.   Defendants violated 18 U.S.C. §1030(b) by conspiring and attempting to commit the

   violations alleged in the preceding paragraphs.

130.   Defendants’ conduct caused a loss to Plaintiffs in excess of $5,000 during a one-year period.

131.   Defendants’ actions caused Plaintiffs to incur a loss as defined in 18 U.S.C. §1030(e)(11),

   including but not limited to costs associated with identifying and responding to fraudulent

   activity, enhancing security measures, and addressing harm to business operations.

132.   Plaintiffs are entitled to be compensated for losses and damages, and any other amount to

   be proven at trial.


                                COUNT V - ABUSE OF RIGHT
133.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

134.   An "abuse of right" refers to an action that may appear as a legitimate exercise of a personal
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   right, yet lacks protection from the courts due to its primary intent to cause harm; its execution

   without a genuine and valid interest; or its contradiction to principles of good faith or moral

   standards. La C.C. Art. 2315 and Illinois Central Gulf Railroad Co. v. International Harvester

   Co., 368 So. 2d 1009 (La. 1979).

135.   In the Defendants' complaints to regulatory boards in Louisiana, Texas, Washington,

   Arizona and other States yet known regarding information obtained through fraudulent

   inducement and to create the environment for the complaint, Defendants acted with the

   predominant intent to harm Plaintiff, as evidenced by their retaliation to SAPS' failed lawsuit,

   and by the fraud committed in order to carry out their complaints to numerous State regulatory

   boards.

136.   Defendants' actions provided no legitimate benefit to Defendant, as the actions to fabricate

   evidence through fraud only served to benefit SAPS at the detriment of Plaintiff and other

   competitors.

137.   Defendants' conduct violated principles of good faith and fairness, as the complaints filed

   with multiple State regulatory boards against Plaintiff's contracted service providers, the

   mental health providers, was done with the intent to damage the business relationships between

   Plaintiff and its service providers and obstruct and injure Plaintiff's business operations in the

   target State.

138.   Defendants exercised the right for a purpose other than that for which it was granted, as

   Defendants exercised the right to file such complaints using evidence obtained through

   fraudulent inducement in order to pursue their scheme to defraud and injure Plaintiff and other

   competitors of SAPS.

139.   As a direct and proximate result of Defendants' abuse of right, Plaintiff has suffered

   damages, including but not limited to lost revenues, terminated contractual relationships with

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   service providers, costs of contracting and training new mental health providers, among other

   damages, and Plaintiff seeks relief in the amounts of those damages and for a permanent

   injunction against such actions of Defendants.

COUNT VI - TORTIOUS INTERFERENCE WITH A BUSINESS CONTRACT

140.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

141.   Greater Guide maintains valid contractual relationships with licensed mental health

   providers who conduct evaluations and provide mental health services through Greater Guide's

   platform.

142.   Defendants, including Dominick Latino in his capacity as President and Director of

   Defendant PEI, knew of the existence of these contractual relationships through prior litigation

   and business dealings in the industry.

143.   Defendants intentionally and maliciously interfered with Greater Guide's contractual

   relationships by directing or participating in a coordinated scheme that included: (1) creating

   approximately 31 fraudulent customer accounts using the same credit card information; (2)

   submitting false evaluation information to mental health providers contracted with Greater

   Guide, and (3) the filing indiscriminate complaints with multiple state licensing boards using

   fraudulently obtained information to target Greater Guide's IMHPs regardless of jurisdiction.

144.   Defendants' interference was improper and without justification, as evidenced by the

   systematic use of fraudulent identities and credit card information, the coordinated filing of

   substantially similar complaints across multiple jurisdictions; and the use of Prevent ESA

   Fraud's purported nonprofit status to advance SAPS LLC's commercial interests.

145.   Defendants’ conduct caused actual disruption of Plaintiff’s contractual relationships,

   including the termination of multiple provider contracts, the cessation or curtailment of

   operations in several states, and the imposition of substantial business costs to recruit, vet, and

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   reestablish licensed mental health coverage in those jurisdictions, a direct and foreseeable

   result of Defendants’ intentional conduct.

146.   Defendants' actions were willful, wanton, and malicious, undertaken with the specific

   intent to harm Greater Guide's business relationships with its contracted mental health

   providers.

147.   By reason of the foregoing, Plaintiff seeks relief in the amount of damages and equitable

   relief and a permanent injunction for such actions of Defendants in the future.


       COUNT VI - LOUISIANA DECEPTIVE AND UNFAIR TRADE PRACTICES
148.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

149.   Plaintiff incorporates by reference its fraud allegations which identify the specific

   transactions, dates, user aliases, payment methods, and complaint filings used to execute

   Defendants’ deceptive scheme.

150.   The Louisiana Unfair Trade Practices and Consumer Protection Law (LUTPA) makes

   "Unfair methods of competition and unfair or deceptive acts or practices in the conduct of any

   trade or commerce [...] unlawful" (La R.S. 51:1405(A)) and "§ 51:1409(A) grants a right of

   action to "[a]ny person, natural or juridical, who suffers any ascertainable loss" from a violation

   of this prohibition". Cheramie Serv. v. Shell Deepwater, 35 So. 3d 1053, 1059 (La. 2010).

151.   Defendants have engaged in unfair and deceptive trade practices to harm competitors

   through a fraudulent scheme in Louisiana and across the country, including unfair methods of

   competition and deceptive conduct with the intent to undermine Plaintiff’s business

   relationships with licensed providers and customers through fraudulent access and reputational

   sabotage. As a direct consequence of such unlawful trade practices by the Defendants, Plaintiff

   has been and continues to be damaged, including the loss of revenues.

152.   Defendants have engaged in, but not limited to, the following unfair trade practices: (1)
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   creation of fraudulent customer profiles (deception); (2) leveraging falsified transactions to file

   baseless complaints in bad faith; (3) using Prevent ESA Fraud’s false nonprofit veneer for

   commercial gain, which is an oppressive business act. Furthermore, Defendants’ conduct

   violated LUPTA because it was (a) unethical in the commercial context, (b) deceptive by

   design, and (c) intended to damage Greater Guide’s business operations through fraud, without

   legal justification. Such conduct constitutes an unfair and deceptive trade practice under

   Louisiana law.

153.    Through their actions, Defendants have engaged in unfair trade practices to disrupt and

   impair the business dealings of the Plaintiff and other competitors throughout the market.

154.    Because of the foregoing, Plaintiff seeks damages, equitable relief, and permanent

   injunction, and, under the LUTPA, is entitled to recover treble damages and reasonable

   attorney fees for Defendants' fraudulent or willful actions.


       COUNT VIII - VIOLATION OF SECTION 1 OF SHERMAN ANTITRUST ACT

155.    Plaintiff repeats and realleges the foregoing as if fully set forth herein.

156.    The coordinated scheme by SAPS LLC, Prevent ESA Fraud Inc., Prevent ESA Fraud, and

   associated individuals constitutes illegal acts under antitrust laws, specifically designed to

   monopolize the emotional support animal certification market, suppress competition, and

   manipulate market mechanisms.

157.    Alternatively, these actions have resulted in significant anticompetitive effects across the

   market by removing competitive pressure on SAPS LLC to improve their service offerings and

   maintain reasonable pricing. The artificial elevation of industry barriers and the manipulation

   of regulatory processes constitute unreasonable restraints of trade that adversely affect

   interstate commerce, violating Section 1 of the Sherman Act, 15 U.S.C. § 1.


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158.    Defendants’ comprehensive strategy to restrain trade and monopolize the emotional

   support animal certification market through fraudulent conduct, abuse of regulatory processes,

   and deliberate interference with competitors’ business operations constitutes a clear and

   egregious violation of Sections 1 and 2 of the Sherman Act.

159.    Because of the foregoing, Plaintiff seeks damages, equitable relief, and permanent

   injunction, and, under the Sherman Antitrust Act, is entitled to recover treble damages and

   reasonable attorney fees for Defendants' anticompetitive actions.


       COUNT IX - VIOLATION OF SECTION 2 OF SHERMAN ANTITRUST ACT

160.    Plaintiff repeats and realleges the foregoing as if fully set forth herein.

161.    At all pertinent times the Defendants operated within the Relevant Market.

162.    As described above, Defendants knowingly and willfully engaged in conduct designed to

   unlawfully obtain and extend their market share in the Relevant Market in an attempt to

   monopolize said Relevant Market.

163.    These actions included, among others (i) fabricating consumer profiles to infiltrate

   Plaintiff’s platform, (ii) extracting confidential provider information, (iii) filing sham

   regulatory complaints against Greater Guide affiliated IMHPs to drive them out of the market,

   (iv) and redirecting displaced consumers to SAPS’s own services at higher price points.

164.    Defendants’ regulatory actions were objectively baseless due to inter alia, the use of

   fabricated patient identities, the absence of any genuine clinical harm, the reliance on

   Defendants’ self-authored “Code of Conduct” rather than individualized state law, and the

   uniform targeting of Greater Guide IMHPs without any legitimate consumer complaint –

   demonstrating that the filings served no valid regulatory purpose and were instead calculated

   solely to exclude market rivals like Greater Guide.


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165.   Defendants illegally attempted to create and maintain monopoly power in the Relevant

   Market in violation of Section 2 of the Sherman Act, 15 U.S.C. §2.

166.   Defendants’ conduct in unlawfully attempting to obtain and maintain a monopoly in the

   market for ESA-PSA certification services injured Plaintiff in their business or property.

   Plaintiff was deprived of access to licensed mental health providers in multiple key states, the

   revenue and market share associated with ESA-PSA letter certification in those States, and the

   ability to fairly compete in keyword-based online advertising markets, all as a direct and

   foreseeable result of Defendants’ exclusionary and deceptive conduct.

167.   Defendants’ anticompetitive and unlawful conduct alleged herein has injured competition

   in the Relevant Market by attempting to obtain and maintain power to exclude competitors,

   reduce output, charge monopoly prices, reap monopoly profits and otherwise thwart

   competition in the Relevant Market.


                      COUNT X - VIOLATIONS OF THE RICO ACT
168.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

169.   18 U.S.C. § 1962(c) makes it “unlawful for any person employed by or associated with any

   enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

   conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

   a pattern of racketeering activity . . . ” 18 U.S.C. § 1962(c)

170.   Each Defendant, at all relevant times, is and has been a “person” within the meaning of 18

   U.S.C. § 1961(3) because each Defendant is capable of holding, and does hold, “a legal or

   beneficial interest in property.”

171.   Defendants, SAPS, LLC, Prevent ESA Fraud Inc., Prevent ESA Fraud, Dominick Latino

   III, and John Doe Unknown Investigator (constitute an "enterprise" within the meaning of 18

   U.S.C. § 1961(4). SAPS-PEF Enterprise operated as a distinct association-in-fact enterprise
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   with the shared purpose of suppressing ESA-PSA certification market presence through fraud,

   CFAA violations, and sham regulatory complaints. Each RICO Defendant is separately named

   as a “person” under 18 U.S.C. § 1962(c), while the enterprise refers to their coordinated

   structure, shared operational tools, and continuing objective. The enterprise is not a shorthand

   for the predicate acts; it is the unit of decision-making and execution through which Defendants

   carried out the racketeering pattern.

172.   The mail and interstate wire communications used in furtherance of Defendants' scheme to

   harm Plaintiff were the general mailing and electronic communications described above,

   consisting of interstate wire communications to submit fraudulent information through Greater

   Guide's website, and the interstate mailing of complaints based on information received

   through fraudulent means; plus other communications, of which records are in the sole

   possession of Defendants.

173.   These acts constitute predicate acts of mail and wire fraud under 18 U.S.C. §§ 1341 and

   1343, as Defendants knowingly used interstate communications to further their fraudulent

   scheme, thereby satisfying the pattern requirement under RICO.

174.   The fraudulent representations of Defendants were relied on by Plaintiff, as set forth herein,

   and by Plaintiff’s independent mental health providers and potential customers, who provided

   services in reliance on the fraudulent statements.

175.   The actions of Defendants, as set forth in detail above, comprise a fraudulent scheme to

   unfairly harm SAPS' competitors, including Plaintiff, through fraudulent means and impede

   competition, using mail and interstate wire, as set forth with specificity above, and to unjustly

   enrich SAPS.

176.   Defendants, through their actions, have engaged in unfair trade practices in an attempt to

   disrupt and impair the business dealings of the Plaintiff and other competitors throughout the

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   market.

177.   Plaintiff Greater Guide suffered injury to their business and reputation, and damages, as

   set forth in detail above. Among objects of the scheme, Defendants’ fictitious identity

   complaint scheme was designed to obtain:

             a. the identities and licensure numbers of Greater Guide’s IMHP network —

                intangible business assets protected as property;

             b. order-ID numbers generated by ASP’s website and ESA/PSA certification letters,

                which have standalone economic value as the keystone for Prevent ESA Fraud’s

                fraudulent tester and complaint package; and

             c. incremental revenues from consumers who, after Greater Guide’s IMHPs resigned

                or were sanctioned, purchased ESA certification from SAPS—diverted earnings

                that constitute property.

178.   The unlawful acts described above have the similar intents, results, accomplices, victims,

   or methods of commission or are otherwise interrelated and not isolated incidents so as to effect

   a "pattern of racketeering activity" within the meaning of 18 U.S.C. §1962(c), causing injury

   to Plaintiff as contemplated by 18 U.S.C. §1964(c), as set forth above, and pose a threat of

   continued criminal activity.

179.   Plaintiff is entitled to relief, including damages, treble damages, and reasonable attorney

   fees under the civil-RICO statutes.


                       COUNT XI - RACKETEERING CONSPIRACY
180.   Plaintiff repeats and realleges the foregoing as if fully set forth herein.

181.   Defendants constitute an "enterprise" within the meaning of 18 U.S.C. § 1961(4).

182.   During the times relevant during this complaint, Defendants, SAPS LLC, Prevent ESA

   Fraud Inc, Prevent ESA Fraud, Dominick Latino III and Unknown Investigator(s) conspired
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   to conduct or participate in the racketeering enterprise through a pattern of racketeering

   activities in violation of 18 U.S.C. § 1962, causing injury to Plaintiff as contemplated by 18

   U.S.C. §1964(c), as set forth above.

183.   As described above, Plaintiff alleges with specificity that each Defendant—SAPS, PEF,

   PEFI, Dominick Latino, and John Doe Unknown Investigator—knowingly agreed to the

   common purpose of damaging competitors in the ESA-PSA certification services market

   through unlawful access, data harvesting, and / or regulatory sabotage. Plaintiff further alleges

   that each Defendant agreed to and facilitated the commission of at least two predicate acts of

   mail or wire fraud in furtherance of the enterprise.

184.   Plaintiff is entitled to relief, including damages, treble damages, and reasonable attorney

   fees under the civil-RICO statues.



                                         JURY DEMAND

185.   Plaintiff demands trial by jury of all issues so triable.


                                 RESERVATION OF RIGHTS

186.   Plaintiff expressly reserves the right to seek additional or alternative remedies, as may be

   warranted by the evidence adduced or as permitted by law. Plaintiff further reserves the right

   to amend or supplement its claims for damages and remedies as discovery proceeds or as

   additional facts become known.



                                    REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in its favor and

against Defendants as follows:

A. On Count One, Defendants Civil Conspiracy, adjudging that Defendants are liable in solido
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   for the damages caused by the acts of Defendants against Plaintiff, damages in favor of Plaintiff,

   in an amount to be determined at trial, plus cost, attorneys' fees, the permanent injunction of

   such conduct, and any other equitable or legal remedies authorized by law.

B. On Count Two, including thirty-one (31) incidences of Fraud, awarding damages in favor of

   Plaintiff, in an amount to be determined at trial, plus cost, attorneys' fees, the permanent

   injunction of such conduct, and any other equitable or legal remedies authorized by law.

C. On Count Three, Breach of Contract, awarding damages in favor of Plaintiff, in an amount to

   be determined at trial, plus cost, attorneys' fees, the permanent injunction of such conduct, and

   any other equitable or legal remedies authorized by law.

D. On Count Four, Computer Fraud and Abuse Act, awarding damages in favor of Plaintiff, in an

   amount to be determined at trial, plus cost, attorneys’ fees, the permanent injunction of such

   conduct, and any other equitable or legal remedies authorized by law.

E. On Count Five, Abuse of Rights, awarding damages in favor of Plaintiff, in an amount to be

   determined at trial, plus cost, attorneys' fees, the permanent injunction of such conduct, and

   any other equitable or legal remedies authorized by law.

F. On Count Six, Tortious Interference with a Business Contract, awarding damages in favor of

   Plaintiff, in an amount to be determined at trial, plus cost, attorneys' fees, the permanent

   injunction of such conduct, and any other equitable or legal remedies authorized by law.

G. On Count Seven, violations of Louisiana Unfair Trade Practices Act, that the Court adjudicate

   and decree that Defendants’ coordinated fraudulent, deceitful, and anticompetitive actions

   constitute unfair trade practices and awarding damages in favor of Plaintiff, in an amount to

   be determined at trial, for trebles damages per LUPTA, plus cost, attorneys' fees, permanent

   injunction of such conduct, and any other equitable or legal remedies authorized by law.

H. On Count Eight, violation of Section 1 of the Sherman Act, that the Court adjudicate and decree

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   that Defendants’ coordinated actions constitute illegal restraints of interstate trade and

   commerce in violation of Section 1 of the Sherman Act awarding damages in favor of Plaintiff,

   in an amount to be determined at trial, for trebles damages per the Sherman Act, plus cost,

   attorneys' fees, permanent injunction of such conduct, and any other equitable or legal remedies

   authorized by law and issue an injunction requiring the cessation of all fraudulent and

   anticompetitive activities and the dissolution of any fraudulent nonprofit entities used in

   furtherance of these activities.

I. On Count Nine, violation of Section 2 of the Sherman Act, that the Court adjudicate and decree

   that Defendants’ engaged in conduct in violation of Section 2 of the Sherman Act, 15 U.S.C.

   §2; that coordinated actions constitute an illegal attempt to monopolize the Relevant Market in

   violation of Section 2 of the Sherman Act awarding damages in favor of Plaintiff, in an amount

   to be determined at trial, for trebles damages per the Sherman Act, plus cost, attorneys' fees,

   permanent injunction of such conduct, and any other equitable or legal remedies authorized by

   law and issue an injunction requiring the cessation of all fraudulent and anticompetitive

   activities and the dissolution of any fraudulent nonprofit entities used in furtherance of these

   activities.

J. On Count Ten, RICO Act violations, that the Court adjudicate and decree that Defendants’

   coordinated actions constitute violations of the RICO Act and awarding damages in favor of

   Plaintiff, in an amount to be determined at trial, for trebles damages per RICO Act, plus cost,

   attorneys' fees, permanent injunction of such conduct, and any other equitable or legal remedies

   authorized by law.

K. On Count Eleven, RICO Conspiracy, that the Court adjudicate and decree that Defendants’

   coordinated actions constitute liability in solido and awarding damages in favor of Plaintiff, in

   an amount to be determined at trial, and for trebles damages per RICO Act, plus cost, attorneys'

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   fees, permanent injunction of such conduct, and any other equitable or legal remedies

   authorized by law.

L. That Defendants, their officers, directors, agents, employees, successors, and any persons

   acting on their behalf be permanently enjoined from engaging in, continuing, or renewing the

   fraudulent schemes or any other actions with similar purpose or effect, and from adopting any

   practices, plans, programs, or devices with similar anticompetitive purposes or effects.;

M. That Defendants, their officers, directors, agents, employees, successors, and any persons

   acting on their behalf be (i) permanently enjoined from creating or using any fictitious identity

   to access the ASP website,

N. That this Court judicially dissolve and revoke the corporate charters of Prevent ESA Fraud Inc,

   incorporated as a Delaware nonprofit corporation, and Prevent ESA Fraud, incorporated as a

   Louisiana nonprofit corporation, pursuant to the Court’s inherent equitable powers and in

   furtherance of the public interest.

O. Granting Plaintiff such other and further relief as the Court deems just and proper; and

P. That Plaintiff recover the costs of this action, including reasonable attorneys’ fees, and any

   other damages determined by the Court.

Dated: JUNE 17, 2025

NEW ORLEANS, LOUISIANA

                                                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that the above and foregoing was filed electronically via the US
District Court for the Eastern District of Louisiana Document Filing System on this the 20th day
of June, 2025 requesting that a true and correct copy be served upon opposing counsel, Ted Le
Clercq and Duris Lee Holmes, representing Defendants SAPS, LLC, Prevent ESA Fraud Inc,
Dominick Latino III and Prevent ESA Fraud and all parties/attorneys of record pursuant to the
Federal Rules of Civil Procedure.




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